                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

GLEANICE BROWN,                                   )
LATRONDRA MOORE, and                              )
TAMARA SOLOMON,                                   )
                                                  )
               Plaintiffs,                        )
                                                  )          Case No. 4:20-CV-00920-DGK
v.                                                )
                                                  )
KANSAS CITY, MISSOURI BOARD                       )
OF POLICE COMMISSIONERS, et al.,                  )
                                                  )
               Defendants.                        )

     ORDER GRANTING BOARD OF POLICE COMMISSIONERS’ MOTIONS FOR
                        SUMMARY JUDGMENT

       Plaintiffs are female African Americans who were formerly detectives in the Crimes

Against Children Unit of the Kansas City, Missouri, Police Department (“KCPD”). They allege

their immediate supervisors in the Crimes Against Children Unit discriminated against them based

on their race, age, and gender, and the KCPD discriminated against them in how it punished them

for various procedure and policy violations. Plaintiffs are suing Defendants under various federal

civil rights laws for discrimination, retaliation, and harassment based on race, age, and gender.

       Now before the Court are the Kansas City, Missouri Board of Police Commissioners and

its members’ (collectively “BOPC”) motions for summary judgment. ECF Nos. 122 (Plaintiff

Gleanice Brown), 123 (Plaintiff Latrondra Moore), and 124 (Plaintiff Tamara Solomon). The

record suggests almost all of the detectives in the Crimes Against Children Unit—including

Plaintiffs and their white male colleagues—were chronically overworked and so potentially

unfairly disciplined for failing to clear cases in a timely fashion. But there is no evidence that




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Plaintiffs’ race, age, 1 or sex played a role in how they were treated. Accordingly, the BOPC’s

motions for summary judgment are GRANTED.

                                         Summary Judgment Standard

           Summary judgment is appropriate if, viewing all facts in the light most favorable to the

nonmoving party, there is no genuine dispute as to any material fact, and the moving party is

entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S.

317, 322–23 (1986). Material facts are those facts “that might affect the outcome of the suit under

the governing law,” and a genuine dispute over material facts is one “such that a reasonable jury

could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). The party seeking summary judgment bears the burden of showing a lack of a

genuine dispute as to any material fact, Celotex Corp., 477 U.S. at 323, and the Court views the

facts in the light most favorable to the nonmoving party, drawing all reasonable inferences in that

party’s favor, Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 588–89 (1986).

To survive a motion for summary judgment, the nonmoving party must substantiate her allegations

with “sufficient probative evidence that would permit a finding in her favor based on more than

mere speculation, conjecture, or fantasy.” Mann v. Yarnell, 497 F.3d 822, 825 (8th Cir. 2007)

(quotation omitted).

                                            Undisputed Material Facts

           To resolve the motions, the Court must first determine the material undisputed facts. They

are set forth below. The Court has limited the facts to those that are undisputed and material to

the pending summary judgment motions.2 See Fed. R. Civ. P. 56(c); L.R. 56.1(a). The Court


1
    Plaintiff Gleanice Brown is the only Plaintiff asserting an age-discrimination claim.
2
 For example, many of Plaintiffs’ proposed facts are immaterial to resolution of the pending summary judgment
motions, such as the details of the KCPD’s unmanageably high caseload for the Crimes Against Children Unit.

                                                            2

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has excluded legal conclusions, argument presented as fact, proposed facts not properly supported

by the record or admissible evidence, 3 or proposed facts not supported by citation to particular

parts of the record. See Fed. R. Civ. P. 56(c); L.R. 56.1(a). It has included proposed material

facts which have been improperly controverted. 4 See Fed. R. Civ. P. 56(c); L.R. 56.1(a).

         This long factual section is broken into three parts. The first part sets out facts which are


3
  For example, Plaintiffs repeatedly assert that they were treated differently in similar cases with similar policy
violations, but Plaintiffs cannot identify a single specific case with similar policy violations. See, e.g., Pls.’ proposed
fact 165; ECF No. 143 (“Black female detectives were punished more severely and received more policy violations
for failure to investigate the case or properly document investigative activity in a timely manner than their white male
counterparts.”). But the cited portion of the record does not support this assertion, and a proposed fact cannot be
based on speculation. Plaintiffs also attempt to support conclusory facts regarding their alleged disparate treatment
based on their own deposition testimony. See, e.g., Pls.’ proposed facts 127–28 (“Similarly situated white and male
detectives were not punished for violating the same policies as the black female detectives.” and “Brown and the other
black female detectives frequently worked longer hours than their Caucasian male counterparts.”). This is not proper
evidence under Rule 56 to support such proposed facts. Thomas v. Corwin, 483 F.3d 516, 530 (8th Cir. 2017)
(holding a plaintiff’s “own conclusory allegations . . . unsupported with specific facts or evidence” is “insufficient to
create a genuine issue of fact so as to preclude summary judgment.”).
4
  For example, Plaintiffs attempt to controvert the BOPC’s statement of fact 84, “The Review Panel made its
recommendations based solely on its own review and discussion,” by citing the deposition testimony of Major Diane
Mozzicato on page thirty-two, lines one through twenty-two, claiming “Mozzicato admitted to being influence[d] by
outside sources like the Kansas City Star Articles.” Resp. at 29, ECF No. 143. In fact, the testimony cited by
Plaintiffs says no such thing. If anything, it suggests the opposite is true:

1        Q.       Do you have any knowledge about Jean Peters Baker’s
2                 involvement with the Crimes Against Children’s Unit?
3        A.       I don’t know what you mean by knowledge.
4        Q.       Do you have any personal knowledge?
5        A.       Again, I don’t know what you mean by personal
6                 knowledge.
7        Q.       From your memory, your recollection?
8        A.       Just what was in the papers.
9        Q.       What do you mean by what was in the paper?
10       A.       I believe she’s -- I don’t remember the article, I’m
11                sorry. Something regarding letters or something along
12                that line.
13       Q.       You read articles about the Crimes Against Children’s
14                Unit?
15       A.       If I said no I would be lying. I know I probably read
16                a article about it.
17       Q.       Was this before or after you were involved in the
18                review committee?
19       A.       That I don’t know.
20       Q.       Did these articles that you read did they influence
21                your opinion over the Crimes Against Children’s Unit?
22       A.       No.

Mozzicato Dep., ECF No. 129-51 (emphasis added).

                                                            3

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common to all three Plaintiffs’ claims in chronological order. The second part focuses on facts

relevant to each Plaintiffs’ claims and may not be in chronological order. The third part is very

brief and explains the EEOC charges. To aid the reader, headings are used throughout.

I.     Facts Common to All Plaintiffs

       Events Leading to Seward Team Review

       In mid-September 2015, Major David Lindaman (“Maj. Lindaman”) wrote a memo to his

superior officer in the KCPD, Deputy Chief Cheryl Rose, stating that in mid-September of 2015,

he learned that Jackson County Prosecutor Jean Peters Baker (“Baker”) was concerned about the

timeliness of cases being delivered to her office by the KCPD Crimes Against Children (“CAC”)

Unit for charging decisions. Baker believed that the issue was largely unit wide.

       About that same time, on September 13, 2015, Baker emailed Captain Todd Paulson

(“Capt. Paulson”) and Maj. Lindaman about a recent telephone call she had with Plaintiff Solomon,

who was then a detective in the CAC Unit. Baker wrote:

              [A] 7 year old was grazed by a bullet last night after two male
              individuals were arguing. Naturally, I contacted my office this
              morning to see the status of the case assuming it was being worked.
              After a series of phone calls to each on-call prosecutor, none were
              made aware of this case. No one knew anything about it. I asked
              MY staff to contact your staff to find out where the case was at and
              how we can assist in putting a case together – still assuming the case
              was being worked. Our on-call secretary told me Det. Solomon had
              the case, but she was less than happy to receive her call and our
              inquiry about it. Solomon was described as openly hostile to my
              staff. I asked for her number and, of course, I called her. Det.
              Solomon’s response to my inquiries were disturbing. She was
              annoyed that I was calling. She asked me if I wanted her to put a
              pick up out for an unknown male. I thought that seemed silly since
              the mother of [the] child should have some information to provide
              us and the father of the child is known to us. Det. Solomon stated
              the mother had called the ther [sic] over last night – so she should
              have some knowledge of how to find the FATHER. Seems like a

                                                4

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                  place to start. ONLY after I pushed did she make some overtures
                  to put a case together. I find this unacceptable.

                  What became clear is that I will NEVER get this case. A seven
                  year old was injured, but no investigation is going to be done. Det.
                  Soloman [sic] said the child would be sent to the CPC for a forensic
                  interview. After the child is back home – perhaps with those
                  responsible for his injury, I don’t really see that as a great
                  investigative tool. Why are we waiting? Why didn’t we ask for
                  the name and phone number of the father? If we did, why aren’t
                  we trying to find him? If I had not called this morning, this case
                  would never go anywhere – and this 7 year old is just as screwed
                  today as he was yesterday.

                  […]

                  Disclaimer: I am violating my long-standing policy of sending an
                  email while still angry, but a seven year old child is the VICTIM
                  and we have lost precious time.

Baker described her interaction with Solomon as “particularly alarming.”

         For several years leading up to this time, the CAC Unit had been inadequately staffed,

trained, and supervised. Detectives in the CAC Unit typically had a larger caseload compared to

other units. The CAC Unit’s cases took more time to investigate because CAC detectives had to

work with so many outside entities, and they had more responsibilities than detectives in other

units. The chain of command had been aware of the staffing issue since at least 2012. 5

         In response to Baker’s letter, on September 14, 2015, Maj. Lindaman directed Sergeant

Mike Seward (“Sgt. Seward”) and four detectives (Det. Sarah Throckmorton, Det. Tim Perry, Det.




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  Many of Plaintiffs’ 656 proposed facts concern problems related to staffing levels in the CAC Unit and the chain of
command’s alleged blame shifting and indifference to these problems. While these proposed facts suggest the CAC
Unit was poorly managed and all the detectives who were subsequently disciplined may have been placed in a “no-
win” situation, these proposed facts do not show that any detective’s race, age, or sex played a role in the disciplinary
process, or that Plaintiffs were retaliated against for engaging in protected activity. Hence, the details in many of
these proposed facts have been excluded.

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William Dillingham, and Det. Keith Huntington) to conduct a “backlog review” of assigned cases

in the CAC Unit that were older than six months. During the backlog review, Sgt. Seward began

to investigate the cases for investigative flaws and began interviewing people about perceived

problems with the CAC Unit.

       Maj. Lindaman directed the backlog review team to “identify, quantify and qualify all cases

more than six months old,” and then work up these cases for prosecution. On October 30, 2015,

Sgt. Seward prepared a summary memo and spreadsheet to Capt. Paulson listing approximately

150 CAC cases that he and his team had identified as having deficiencies. The table below lists

the number of cases identified in Sgt. Seward’s memo, along with the CAC squad members’

tenure, race, sex, and number of cases deemed to have deficiencies.



 CAC Squad Member           Tenure in CAC        Race     Sex           Number of cases
                           (whole years as of                           with deficiencies
                              Oct. 2015)
 Det. Will Majors                  5                W      M                     0

 Sgt. Roy Murry                    9                W      M                     1

 Det. James Foushee                9                W      M                    10

 Det. Travis Menuey           Less than 1           W      M                    15

 Det. Gleanice Brown               16               B       F                   21

 Det. Latrondra Moore              8                B       F                   21

 Det. Robert Roubal                7                W      M                    24

 Det. Amy Klug                     2                W       F                   25

 Det. Tamara Solomon               3                B       F                   31



       On November 11, 2015, Sgt. Seward submitted a supplemental report which identified an
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additional nine cases with deficiencies that were closed out in September 2015 and had therefore

not been reported to Paulson as part of the closing out backlogged cases. Plaintiff Moore had

been assigned one of these cases. Plaintiff Brown had been assigned the other eight.

       Initiation of the Miscellaneous Investigation into the CAC Unit

       Following Maj. Lindaman’s receipt of Sgt. Seward’s memo and his review of the

underlying information, Maj. Lindaman recommended that the Chief of Police authorize a

Miscellaneous Investigation to be conducted by the Internal Affairs Unit (“IAU”).           Maj.

Lindaman wrote that Sgt. Seward’s memo appeared to reveal “a systemic failure of an entire

element,” and further suggested that this failure was due to the behaviors of “seven of the eight

assigned detectives” who apparently “failed to hold themselves accountable,” as well as the

organization “failing to ensure adequate accountability measures were in place.” He also wrote

that a Violent Crimes Division (“VCD”) led investigation would be inappropriate as VCD (where

the CAC Unit is located inside the KCPD’s structure) was not capable of handling an investigation

of this scale, and further that it was “likely the VCD supervisors and commanders (myself

included) are in some degree responsible for allowing this organizational failure to develop over

the past four years.”

       On December 21, 2015, Deputy Chief Cheryl Rose concurred with Maj. Lindaman’s

request to initiate a Miscellaneous Investigation “due to the seriousness of this issue.” On

December 23, 2015, then Chief of Police Darryl Forte approved the Miscellaneous Investigation.

On January 4, 2016, IAU opened a Miscellaneous Investigation and assigned it to Detectives Mike

Curley and James Sola.




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       CAC Members Suspended

       On January 28, 2016, at the recommendation of Maj. Lindaman and with the approval of

Chief Forte, almost all CAC squad members were suspended with pay.                 Maj. Lindaman

recommended this action because of “new developments” that led him to believe “the retaining of

the detectives and involved supervisors was not in the best interest of the department as it is

impossible to assure the public these detectives can be trusted to conduct themselves professionally

until a thorough internal investigation is completed.” The CAC squad members suspended were

Sgt. Roy Murry; Sgt. Jonathan Hess; Det. Robert Roubal; Det. James Foushee; Det. Travis

Menuey; Det. Amy Klug; Det. Tamara Solomon (a Plaintiff); Det. Gleanice Brown (a Plaintiff);

and Det. Latrondra Moore (a Plaintiff).      The only CAC squad member not suspended was

Detective Will Majors, whose cases Sgt. Seward’s team determined had no deficiencies.

       On February 7, 2016, Chief Forte reinstated the suspended CAC Unit members, but

reassigned them from the CAC Unit to various Patrol Bureau division stations. Det. Majors

remained in the CAC Unit.

       Despite the KCPD’s efforts to shield this information from disclosure to others, the Jackson

County Circuit Court subsequently ordered this information be provided to the Jackson County

Prosecutor’s Office.

       Media Leaks

       There is no evidence that anyone at the KCPD ever leaked information to the media to

discriminate against Plaintiffs.

       The CAC Unit Miscellaneous Investigation

       For the Miscellaneous Investigation, IAU reviewed materials and interviewed several

individuals involved with the CAC Unit. During the investigation, media coverage identified all



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the suspended detectives by name.

       On August 16, 2017, the BOPC and Fraternal Order of Police Lodges No. 99 and 102

(“FOP”) negotiated and executed a Letter of Understanding to employ “specialized procedures”

for the administrative review of the Miscellaneous Investigation case file.

       The BOPC and FOP agreed that a panel of five department members (“the Review Panel”)

would be assigned in a full-time capacity to conduct the administrative review of the CAC

investigation for the purpose of summarizing the results of the investigation and, when appropriate,

to prepare factual summaries and Personnel Incident Reports (“PIR”) outlining specific policy

violations committed by department members. The BOPC and FOP further agreed that any

factual summaries and PIRs completed would be “a collaborative effort of the panel,” signed by

the highest-ranking member of the panel, who was also tasked with meeting with and presenting

the summary and PIR to the affected department member(s).

       The BOPC and FOP agreed to the appointment of the following Review Panel members:

Major Diane Mozzicato (white female, born 1960), Captain Terry Freed (white male, born 1972),

Sergeant Jeff Downing (white male, born 1973), Sergeant Luther Young (black male, born 1984),

and Detective Erica Oldham (white female, born 1979).

       Review Panel Action

       The Review Panel began reviewing materials around September 2017. Maj. Mozzicato

testified the Review Panel took “painstaking efforts to um, vet this out to the best of our abilities

to determine what occurred.”      The Review Panel members spent all their time, every day,

reviewing the materials from the IAU investigation. Among the materials reviewed by the

Review Panel were the memorandums and spreadsheets prepared by Sgt. Seward and the witness

statements. It also reviewed IAU materials from roughly September 2017 to January 2018, and



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subsequently began vetting that material. The Review Panel did this after reviewing detectives’

statements to IAU that referred to mitigating circumstances.

       The Review Panel’s members believed they did not have enough information to validate

the existence of the mitigating circumstances. So, they researched some of those areas as much

as they could to re-create and understand the conditions under which the detectives were working.

The Review Panel relied on Sgt. Seward’s documents for the case report numbers and on what

Internal Affairs gave them as far as the case report numbers. But they also “drilled down” to look

at the raw data—what was in various departmental files and what had been scanned into Tiburon

(an infrequently used computerized case-management system) to determine the totality of the work

performed when cases were assigned to a particular detective.

       Plaintiffs believe the Review Panel did not take Moore and Brown’s mitigating

circumstances into consideration.

       After reviewing the investigative materials compiled by IAU and the information in various

files and computer systems, the Review Panel identified violations of KCPD policy using

department procedural instructions, personnel policies, and duty manual directives. For each

member the Review Panel determined violated policy, the Review Panel prepared a PIR and

factual summary of the violations found and presented these to the member. The Review Panel

determined that policy violations had occurred regarding the actions of seventeen department

members.

       Plaintiffs contend the Review Panel did not list every policy violation a CAC detective

committed, but only identified the policy violation they wanted to apply to each member.

Plaintiffs have not supported these assertions with evidence the Court can consider at summary

judgment.



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       Four of these seventeen department members were no longer active members of the

department on the date the Review Panel completed its factual summary and PIR. The Review

Panel did not present the inactive members with the factual summary and PIR, the inactive

members provided no response to the policy violation allegations, and the Review Panel

recommended no disciplinary action for them. The four inactive members included three retired

commanders and one former CAC detective.

       Each active department member who was presented with a factual summary and PIR was

given time to review the investigative file and provide a response. Each Plaintiff was presented

a factual summary and provided a response. Several CAC personnel also provided a joint

response.

       The Review Panel considered each response and whether the policy violations should be

removed. The Review Panel then jointly determined what recommendations to make to the Chief

of Police regarding the corrective action they believed was warranted for a particular person. The

Review Panel made its recommendations based solely on its own review and discussion.

       The Review Panel conducted a group discussion and then made a recommendation based

on the facts they found for that individual. Sometimes the Review Panel spent days discussing

the recommendation for one person. The Review Panel believed each individual’s case was

different, and it believed its decision with respect to each individual was based on all the facts,

including mitigating factors, that were present. Factors considered included each individual’s

tenure and training while in the CAC Unit, the severity of the deficiencies found in the case files,

whether there was a suspect identified in the case file, the quantity of cases found with deficiencies

assigned to a particular detective, the statements made by the detectives explaining the deficiencies

found in their files, whether the detectives had taken actions to close out cases to avoid detection,



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whether deception appeared to have occurred, and property found in the desks of the detective.

Mitigating circumstances differed from detective to detective and included things like a member’s

assignment to the Baby Lisa task force; a member’s role as the primary training detective; the fact

that Plaintiff Solomon was on limited duty/leave for a portion of her CAC assignment and was

assigned a disproportionately high number of cases; etc.

       The following table shows the members for whom the Review Panel prepared a factual

summary and PIR (in order of highest rank), as well as the action taken.

    Rank            Name        Race      Gender       Action Taken         Employment Status/
                                                                             Time in CAC Unit
   Deputy         Randall         B          M        Policy violations    Retired /
   Chief          Hundley                             found; no action     Active Time Over CAC
                                                      recommended          2011 – 2013

   Deputy          Randy          B          M        Policy violations    Retired /
   Chief          Hopkins                             found; no action     Time Over CAC 2013 –
                                                      recommended          2014

    Major           David         W          M        3 days               Retired /
                  Lindaman                            suspension had       Time Over CAC 2015 –
                                                      member not           2017
                                                      retired

   Captain         Sondra         W          F        Disciplinary         Active /
                Zink-Groves                           Counseling           Time Over CAC 2016 –
                                                                           2016

   Captain         Michael        W          M        Disciplinary         Active /
                    Hicks                             Counseling           Time Over CAC 2005 –
                                                                           2008

   Captain          Todd          W          M        10 days              Active /
                   Paulson                            suspension           Time Over CAC 2014 –
                                                                           2016
                                                      (Grievance filed
                                                      and 10-day

                                                 12

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                                             suspension
                                             upheld)
Sergeant     Michael    W          M         No action            Retired 10-29-2017
             Seward                          recommended          Time Over CAC 2015 –
                                                                  2016
Sergeant    Jonathan    W          M         10 days              CAC squad supervisor
              Hess                           suspension.          2013 – 2015

                                             (Grievance filed,
                                             Grievance
                                             Committee
                                             recommended 5
                                             days suspension.
                                             Chief of Police
                                             upheld original
                                             10-day
                                             suspension)

Sergeant    Roy Murry   W          M         Termination had      Retired 11-24-2018 /
                                             member not           CAC squad supervisor
                                             retired              2008 – 2016

Detective    Robert     W          M         1 day suspension     CAC training detective
             Roubal                                               2010 – 2016

Detective     James     W          M         Letter of            CAC 2013 – 2016
             Foushee                         reprimand

Detective    Steffan       U       M         Disciplinary         CAC 2006 – 2012
             Roetheli                        Counseling

Detective    Travis     W          M         Disciplinary         CAC 2015 – 2016
             Menuey                          Counseling

Detective   Tamara         B        F        7 days               CAC 2015 – 2016
            Solomon                          suspension and
                                             involuntary
                                             transfer to Patrol
                                             Bureau



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  Detective         Amy Klug      W             F        No action            Resigned on
                                                         recommended          11-27-2017

  Detective         Gleanice       B            F        Termination had      Retired /
                     Brown                               member not           CAC 2010 – 2016
                                                         retired
  Detective      Latrondra         B            F        12 days              CAC 2008 – 2016
                  Moore                                  suspension and
                                                         involuntary
                                                         transfer to Patrol
                                                         Bureau


Finally, all the detectives that had worked in the CAC Unit since 2014 received unsatisfactory

reviews for 2016.

       Final Action

       In late October 2018, the Review Panel submitted the packets of the above seventeen

department members to then Chief of Police Richard Smith for final determination. Six of these

individuals held a rank of captain or higher.

       With respect to the Plaintiffs, on October 22, 2018, the Review Panel recommended that

Moore receive a twelve-day suspension, Solomon receive a seven-day suspension, and Brown be

terminated.

       Plaintiffs state this is when they “realized the KCPD specifically targeted and discriminated

against” them.

       Chief Smith, in consultation with Executive Officer Major Mark Francisco (“Maj.

Francisco”), agreed with the Review Panel’s recommendations, and on December 26, 2018, Chief

Smith signed Moore and Solomon’s PIRs. In consultation with Maj. Francisco, Chief Smith also

decided to involuntarily transfer Moore and Solomon to a field assignment, based on the significant

corrective action recommended by the Review Panel and letters received from Prosecutor Baker


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requesting that Moore and Solomon be removed from any investigation that may lead to them

testifying in Court. Moore and Solomon were transferred to the Patrol Bureau and assigned to

South Patrol Division, Watches III and I, respectively. Their pay and benefits remained the same

when they were transferred in early 2019.

       Moore Participates in the Review Panel Grievance Process; Brown and Solomon do
       Not

       Moore exercised her right to review of her recommendation by a grievance panel. The

grievance panel was a different group of individuals than the Review Panel. The grievance panel

upheld Moore’s suspension and transfer.

       Brown and Solomon declined to utilize the grievance process.

II.    Additional Facts Related To Individual Plaintiffs

       A.      Facts Particularly Related to Moore and Brown’s Claims

       Moore and Brown Are Assigned Administrative Duty

       On May 26, 2016, several months after the CAC unit members were suspended and then

reassigned, Baker sent a letter to Chief Forte requesting that he remove Moore and Brown “from

any position that could possibly result in their service as a police witness on any criminal cases

within Jackson County.” In June 2016, Chief Forte directed that Moore be removed from her

field assignment and placed in an administrative duty role at East Patrol Division taking walk-in

reports. Also in 2016, Chief Forte directed that Brown be removed from her field assignment and

placed in an administrative duty role at Metro Patrol Division.

       Additional Facts Related to Brown

       Brown worked for the KCPD from 1994 until her retirement in January 2019. Prior to the

CAC investigation, she received no disciplinary actions in her twenty-five-year history. Her 2016




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review was deemed unsatisfactory even though none of the unsatisfactory boxes under

traits/skills/abilities were marked.

       Brown decided to retire from the Department in the fall of 2018 after receiving the Review

Panel’s recommendation that she be fired. She decided to retire because a retirement benefits

coordinator told her that if she were terminated, her retirement would be in jeopardy, and she did

not want to jeopardize her retirement. If she had kept working, her retirement benefits would

have increased for each extra year she worked.

       Brown made no complaints about discrimination before receiving notice of the

recommendation to terminate her employment.

       Additional Facts Related to Moore

       Moore started working in the CAC Unit in 2007. She always received satisfactory reviews

from her direct supervisors. Since being transferred out of the CAC Unit she has not been

disciplined or been subject to any write-ups. In fact, she has received high evaluation reviews.

In her twenty-year history with the KCPD, she received only one disciplinary action previously,

for a vehicle accident in 2006.

       Moore’s Complaint to Human Resources

       On January 8, 2019, Moore sent an interdepartmental communication to Human Resources

Director Meredith Rund (“Rund”), Sergeant Conrad Stumpenhaus and Sergeant John Beck,

complaining of discrimination. Rund investigated Moore’s complaint. Rund spoke with Moore,

Solomon, and others involved in the CAC Unit investigation. Rund’s investigation and report did

not find any evidence of discrimination or retaliation against Moore or any other CAC detective.




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          Moore’s View of the Investigation

          Moore alleged the initial investigation was “vindictive” and “disparately” executed,

pointing to Sgt. Seward and Maj. Lindaman in particular. Moore believes both were motivated

by race and gender in reviewing the CAC detectives’ case files, identifying alleged deficiencies,

and then communicating the alleged deficiencies up the chain of command.

          Moore believes Sgt. Seward was motivated by race and gender because white male

counterparts who allegedly had more cases in which no work had been done at all—so there was

no specific deficiency to identify—were punished less severely.

          Moore bases her belief that Maj. Lindaman was motivated by race and gender with regard

to his role in the initial investigation on the following: (1) Sgt. Roy Murry told her CAC squad that

Maj. Lindaman does not like “certain people;” (2) Sgt. Roy Murry told her CAC squad that Maj.

Lindaman was concerned about how long Brown had been in CAC Unit; (3) Maj. Lindaman

brought up race in the statement he gave to IAU detectives; and (4) Sgt. Murry stated to IAU

detectives that Maj. Lindaman did not think that Moore and Brown “cared.” Moore stated the

“certain people” Maj. Lindaman reportedly did not like “were never identified.” Moore also

noted that Plaintiffs had to endure more and longer interviews as part of the IAU investigation than

others.

          Sgt. Jennifer Weimhold, who supervised the IAU detectives assigned to this investigation,

stated the length of time spent interviewing witnesses was determined by what information the

witness had provided and what information the detective needed to obtain. In this investigation,

for example, if a lot of cases needed to be vetted, the detective’s interview would take longer.

Additionally, if the witness had limited knowledge of the subject, the statement would be short.




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The length of an interview might also be driven by the volume of information provided by the

witness because some witnesses gave longer answers while others gave shorter responses.

       Sgt. Weimhold contends that, in this investigation, she met with the detectives routinely

and denies that either race or sex was a factor in the interview process. There is no evidence that

Plaintiffs’ interviews were longer because of their race, age, or sex.

       B.      Additional Facts Related to Solomon

       Solomon’s History with the KCPD

       Solomon began working for the KCPD in 2004. While in the CAC Unit, Sgt. Hess

believed she was performing well enough to be trained as a detective.

       Over the course of her employment, Solomon received the following corrective actions

before her termination:

     Date                              Nature                               Corrective Action

 11-18-2003      Inappropriate Comments                                  Letter of Reprimand

 6-14-2007       Sustained O.C.C.                                        Letter of Reprimand

 8-26-2008       Failing to Issue Court Date on U.T.T.                   Disciplinary Counseling

 8-21-2009       Leaving Patrol Car at Off-Duty Venue Unattended 2 Days Suspension

 2-24-2016       Failing to Notify Chain of Command of Ex Parte          Letter of Reprimand

 1-16-2019       Miscellaneous Investigation (CAC)                       7 Days Suspension and
                                                                         Involuntary Transfer


Some of these incidents are described in more detail below.

       Domestic Violence Allegations Resulting In Administrative Duty Assignment

       On January 5, 2016 (which coincidentally is the day after the Miscellaneous Investigation

was opened) Chief Forte received a letter from Prosecutor Baker regarding Solomon. Baker


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wrote that on December 3, 2015, officers were called to Solomon’s home on a reported domestic

violence assault. Baker’s office declined to file criminal charges against Solomon or her spouse

due to insufficient evidence, but determined the matter should be reported to the Department of

Social Services to investigate the safety and well-being of three children living in the home.

Baker’s office concluded that domestic violence had occurred, including verbal altercations that

escalated to physical contact that involved hitting, choking, and threats with a loaded handgun.

Baker also wrote,

               In addition, I believe you should be aware that if Det. Solomon were
               to be called as a witness in the future, it is possible, due to the laws
               of this State, that some or all of the information regarding this and
               similar events may be used, or attempted to be used, by the
               defendant to challenge the veracity or legitimacy of Det. Solomon’s
               testimony. While many factors would ultimately determine the
               admissibility and potential detrimental impact on the State’s ability
               to successfully prosecute such cases, I believe this matter merited
               your attention.

       Roughly a year later, Baker wrote another letter to Chief Forte regarding Solomon. In it,

Baker stated that “[I]f Officer Solomon is involved in a criminal investigation—in any way, even

as a responding patrol officer—I will not prosecute the case.” Baker explained that because she

could be called as a witness to testify regarding her interactions with Solomon and because of the

CAC investigation, she would recuse herself from any case involving Solomon. She also wrote,

“it has come to my attention that new cases are being submitted to my office where Officer

Solomon has had involvement in an investigation even after being removed from the Crime

Against Children’s Unit. Naturally, this would create the same conflict of interest that we

previously attempted to address.”

       Chief Forte placed Solomon on administrative duty in early February 2017.



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       May 9, 2018, Letter from Baker Concerning Another Domestic Violence Incident
       Involving Solomon

       On May 9, 2018, Prosecutor Baker sent a letter to Chief Smith raising concerns related to

another domestic violence incident involving Solomon, her partner, and their children. This

incident occurred on or about January 7, 2018. The letter noted that this was not the first

potentially criminal incident between Solomon and her partner. Baker listed three other reports

made to KCPD for domestic violence involving the two, and that, prior to the 2018 incident, the

prosecutor’s office had reviewed criminal charges against Solomon for at least one previous

incident of domestic violence with her partner. The letter also referenced Solomon’s alleged

refusal to provide her child for a forensic interview and otherwise cooperate with the Children’s

Division investigation into the January 2018 domestic violence episode.           Baker’s letter

concluded, “I am unable to proceed with additional protections for these minor children because

the Solomons refuse to cooperate with the investigations.”

       Baker ultimately declined to charge Solomon.          In her letter to Chief Smith, Baker

explained that she did not bring charges because mutual combat and evidentiary privileges made

the case against Solomon difficult to prove. Baker noted, however, that the matter was “extremely

troubling.” Baker also advised Chief Smith that she had “Brady obligations which require the

disclosure of Officer Solomon’s conduct in any potential criminal case she may have played a role

[in] for [the] department.”

       IAU Miscellaneous Investigation into Solomon

       On June 27, 2018, Chief Smith advised Solomon that he directed the IAU to proceed with

a new miscellaneous investigation, a miscellaneous investigation related to the January 7, 2018,

incident and criminal investigation. (This miscellaneous investigation was independent of the

Miscellaneous Investigation discussed above into the CAC Unit.) Det. Charles Evans of the IAU

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conducted this miscellaneous investigation. On December 18, 2018, Det. Evans took Solomon’s

statement.

       Solomon’s Human Resources Complaint

       On April 2, 2019, Solomon made a complaint of discrimination and retaliation regarding

her disciplinary proceedings related to the domestic violence incident. The KCPD retained an

outside investigator to investigate the matter. The investigator sought to interview Solomon, but

Solomon, through counsel, declined to provide an interview. The investigator concluded that

Solomon’s allegations did not establish discrimination, harassment, or retaliation.

       Solomon’s Chain of Command Unanimously Recommends her Termination

       Sgt. Jeff Jennings (“Sgt. Jennings”) reviewed the miscellaneous investigation file

concerning Solomon’s January 2018 domestic violence incident and submitted a memorandum to

Captain Paul Luster (“Capt. Luster”). Sgt. Jennings recommended that Solomon’s employment

be terminated due to Solomon’s behavior which violated KCPD policies. On April 8, 2019, Capt.

Luster submitted his Disciplinary Recommendation, agreeing with Sgt. Jennings that Solomon

should be terminated. Deputy Chief Francisco and Chief Smith also recommended termination.

       Solomon sought a hearing before the BOPC regarding the recommendation, and on

December 3, 2019, the Board held a hearing. Solomon testified and put on evidence.

       On February 18, 2020, the BOPC issued its Findings of Fact and Conclusions of Law

upholding Solomon’s termination. The BOPC found that Officer Solomon’s behavior since 2005

reflected a very serious history of poor decision-making despite members of the KCPD spending

a lot of time with her trying to address her problems, remedy them, and salvage her. The BOPC

also found that “more likely than not that when Solomon left the house [shortly before the January




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2018 incident], she left the children, ages 5, 10, and 11, home alone . . . a serious lapse in judgment

both by itself and because of the later confrontation [with her spouse that] it precipitated.”

        The BOPC further found “Solomon’s evasive behavior on this issue during the

investigation to be intentional and inappropriate.” It found “Solomon chose to kick open the

locked bedroom door [in her home], which the Board finds ignited the physical altercation that

ensued on January 7, 2018 [between Solomon and her spouse] . . . [and] exhibits exceptionally

poor decision-making on the part of Solomon, and is not the standard of conduct required by

Department policies.” The BOPC also found that Solomon’s conduct was unprofessional on the

night of the incident, unprofessional during the criminal investigation, and unprofessional during

the Miscellaneous Investigation. It also found she minimized her actions, attempted to shift blame

to others rather than take responsibility for her own actions, her explanations lacked credibility,

and her actions discredited and eroded public trust in the KCPD. The BOPC unanimously

recommended terminating her employment.

        Solomon argues the BOPC heavily based their findings upon false representations by the

detective investigating the 2018 domestic violence episode. Solomon also contends that white

male detectives were treated differently in domestic violence situations. But she was not able to

identify any specific white male detectives who were treated differently.

III.    EEOC Charges

        On February 12, 2019, Moore, Brown, and Solomon filed discrimination charges with the

EEOC, checking the boxes for race, sex, and retaliation. Moore’s charge (and amended charges)

reference no adverse actions after her 2019 suspension and transfer.

        On July 10, 2019, Solomon filed a charge with the EEOC regarding her termination.




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                                            Discussion

I.     The BOPC is entitled to summary judgment on all of Brown’s claims.

       The BOPC moves for summary judgment on all of Brown’s claims against it, arguing she

cannot proceed under either Title VII or the ADEA (Counts I, II, and V–VIII) for any allegedly

adverse actions taken against her before August 16, 2018, that is, more than 180 days before she

filed her EEOC charge on February 12, 2019. It also argues she cannot proceed on any adverse

actions under 42 U.S.C. § 1981 or 42 U.S.C. § 1983 (Counts III and IV) because the statute of

limitations has run on these claims. The BOPC contends that the only timely allegations that

remain relate to her recommended termination in October 2018.             And with respect to her

termination, she lacks sufficient evidence to make a prima facie case of discrimination or

retaliation related to her retirement. Finally, it contends that even if she could make a prima facie

case of pretext, she has no direct evidence of discrimination, and she lacks sufficient evidence of

pretext for any claim to survive under the McDonnell Douglas burden-shifting framework.

       Brown does not dispute the BOPC’s arguments concerning timeliness, so these arguments

are waived. Satcher v. Univ. of Ark. at Pine Bluff Bd. of Trs., 558 F.3d 731, 735 (8th Cir. 2009)

(“[F]ailure to oppose a basis for summary judgment constitutes waiver of that argument.”). She

also does not dispute that her retaliation claim cannot survive summary judgment, so any argument

concerning retaliation is waived. Id. But she contends she has sufficient evidence to make a

prima facie case of race, age, and sex discrimination under Title VII and the ADEA related to

constructive discharge, and that she can establish pretext.

       To make a prima facie case of race, sex, or age discrimination, Brown must show: (1) she

is a member of a protected class; (2) she was meeting her employer’s legitimate expectations; (3)

she suffered an adverse employment action; and (4) “the circumstances give rise to an inference



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of discrimination (for example, similarly situated employees outside the protected class were

treated differently).” Carter v. Atrium Hosp., 997 F.3d 803, 809 (8th Cir. 2021) (race); see Tenge

v. Phillips Mod. Ag Co., 446 F.3d 903, 910 (8th Cir. 2006) (sex); Holmes v. Trinity Health, 729

F.3d 817, 822 (8th Cir. 2013) (age).

       With respect to Brown’s discrimination claims, assuming for the sake of argument that her

retirement was forced and this constitutes an adverse action, she cannot satisfy the second or fourth

elements for a prima facie discrimination claim. As multiple independent reviewers found (Sgt.

Seward during the initial “background review,” the Review Panel during its investigation, and

Prosecutor Baker in her May 26, 2016, letter to Police Chief Forte), there were significant issues

concerning Brown’s performance, so she was not meeting her employer’s legitimate expectations.

Indeed, given that there is no evidence here that Baker’s assessment of Brown was motivated in

any way by discriminatory animus, the May 26 letter is by itself fatal to Brown’s discrimination

claims. Sgt. Seward’s observations and the Review Panel’s finding are just corroboration. The

fact that Brown had received satisfactory ratings from her immediate supervisor (who was himself

disciplined for the CAC Unit’s shortcomings after the CAC investigation) is not sufficient

evidence that she was meeting her employer’s legitimate expectations.

       With respect to the fourth element, the circumstances here do not give rise to an inference

of discrimination because Brown cannot show she was treated differently than similarly situated

Caucasian, male, or younger employees. To justify such an inference, Brown must show she and

her comparators engaged “in comparably serious misconduct without experiencing similarly harsh

employment consequences.” Carter, 997 F.3d at 809; see also Pye v. Nu Aire, Inc., 641 F.3d

1011, 1019 (8th Cir. 2011) (holding employees must be “involved in or accused of the same or

similar conduct and . . . disciplined in different ways”) (internal quotations and citations omitted).



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But here each detective’s actions and circumstances were different, and Brown cannot identify any

Caucasian, male, or younger detectives whose actions and circumstances were like hers. For

example, Baker indicated she would not prosecute cases with Brown as an investigative detective,

but did not articulate concerns about prosecuting cases involving Caucasian or male CAC

detectives, so no Caucasian or male CAC detectives are similarly situated to Brown. 6 Thus,

Brown cannot “identify anyone else who engaged in the same conduct without any mitigating or

distinguishing circumstances.” Bharadwaj v. Mid Dakota Clinic, 954 F.3d 1130, 1135 (8th Cir.

2020) (internal quotation omitted). Although the Reviewing Panel disciplined other detectives,

Baker expressed concerns only about prosecuting cases involving Brown’s co-Plaintiffs.

           Brown claims that “similarly situated Caucasian or male comparators are former CAC

detectives Roubal, Foushee, Harpold, Roetheli, Menuey, and Klug” because they all worked in the

CAC Unit during 2014 and 2015, “were all subjected to the CAC Unit investigation,” “all at one

point had Sergeant Murry as their supervisor,” and “all of their cases submitted to the Internal

Affairs Unit were subjected to review by the Special Review Panel.” Brown’s Suggestions in

Opp’n at 9, ECF No. 139.

           This argument is unavailing. This claim describes the detectives’ conduct at too high a

level of generality, glossing over the significant differences in each detective’s individual situation:

it ignores each detective’s distinct role in the CAC Unit (for example, a training detective versus

a detective who was brand new to the CAC Unit), different tenure in the CAC Unit (for example,

one year versus six years), unique caseload, and the severity of the specific conduct involved for

each detective. The facts and circumstances involved in disciplining each of the CAC detectives

are simply so numerous that no “apples to apples” comparison among them is possible.



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    And the only younger detectives Prosecutor Baker treated similarly were Brown’s co-Plaintiffs.

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       Because Brown cannot establish a prima facie case, the Court need not address the parties’

arguments concerning whether she can show pretext under the McDonnell Douglas burden-

shifting framework. The BOPC is entitled to summary judgment on all of Brown’s claims.

II.    The BOPC is entitled to summary judgment on all of Moore’s claims.

       The BOPC moves for summary judgment on all of Moore’s claims, arguing she cannot

proceed under Title VII (Counts IX, X, and XIII–XIV) for any allegedly adverse actions taken

against her more than 180 days before she filed her EEOC charge. Similarly, she cannot proceed

on any adverse actions under § 1981 or § 1983 (Counts XI–XII) because the statute of limitations

has run on these claims. The BOPC contend the only timely allegations that remain relate to her

2019 twelve-day suspension and transfer, and she lacks sufficient evidence to make a prima facie

case of discrimination or retaliation related to her suspension and transfer. Even if she did have

such prima facie evidence, her claims fail because she has no direct evidence of discrimination,

and her claims cannot survive under the McDonnell Douglas burden-shifting framework because

she lacks sufficient evidence of pretext.

       Like Brown, Moore does not dispute the BOPC’s arguments concerning timeliness, so

these arguments are waived. See Satcher, 558 F.3d at 735. And, like Brown, Moore does not

dispute that her retaliation claim cannot survive summary judgment, so any argument concerning

retaliation is waived. Id. But she contends she has sufficient evidence to make a prima facie

case of race and sex discrimination related to her 2019 suspension and transfer, and that she can

establish pretext.

       Like Brown, Moore lacks evidence to satisfy the second and fourth elements of a prima

facie discrimination claim. With respect to the second element, multiple reviewers—Sgt. Seward,

the Review Panel, and Prosecutor Baker—found significant issues concerning Moore’s



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performance which amply demonstrate she was not meeting her employer’s legitimate

expectations. The fact Moore generally received average performance ratings prior to the CAC

investigation is unavailing considering this other evidence and the fact that the supervisor who

gave her the satisfactory ratings was himself disciplined after the CAC Unit investigation.

       With respect to the fourth element, the circumstances here do not give rise to an inference

of discrimination because Moore cannot show she was treated differently than similarly situated

Caucasian or male employees. Each detective’s actions and circumstances were different, and

Moore cannot identify any Caucasian or male detectives whose actions and circumstances were

like hers. For example, Prosecutor Baker did not articulate concerns about prosecuting cases

involving Caucasian or male CAC detectives, but indicated she would not prosecute cases with

Moore as an investigating detective, so no Caucasian or male CAC detectives are similarly situated

to Moore. Moore cannot “identify anyone else who engaged in the same conduct without any

mitigating or distinguishing circumstances.” Bharadwaj, 954 F.3d at 1135. Thus, there are no

other Caucasian or male comparators here.

       Like Brown, Moore claims that “similarly situated Caucasian or male comparators are

former CAC detectives Roubal, Foushee, Harpold, Roetheli, Menuey, and Klug” because they all

worked in the CAC Unit during 2014 and 2015, “were all subjected to the CAC Unit investigation,”

“all at one point had Sergeant Murry as their supervisor,” and “all of their cases submitted to the

Internal Affairs Unit were subjected to review by the Special Review Panel.”                Moore’s

Suggestions in Opp’n at 8, ECF No. 140.

       This argument is unavailing. As discussed above, this argument describes the detectives’

conduct at too high a level of generality, ignoring differences in each detective’s role, tenure, and

caseload, as well as the severity of each detective’s conduct. The unique facts and circumstances



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for each detective are such that no “apples to apples” comparison between them is possible.

          Because Moore cannot establish a prima facie case, the Court need not address the parties’

arguments concerning whether she can show pretext under the McDonnell Douglas burden-

shifting framework. The BOPC is entitled to summary judgment on all of Moore’s claims.

III.      The BOPC is entitled to summary judgment on all of Solomon’s claims.

          The BOPC moves for summary judgment on all of Solomon’s claims, arguing she cannot

proceed under Title VII (Counts XV–XVI, XIX–XX) for any allegedly adverse actions taken

against her more than 180 days before she filed her EEOC charge. Similarly, she cannot proceed

on any adverse actions under § 1981 or § 1983 (Counts XVII–XVIII) because the statute of

limitations has run on these claims. The BOPC contends the only timely allegations that remain

relate to her seven-day suspension, transfer, and subsequent termination, and she lacks sufficient

evidence to make a prima facie case of discrimination or retaliation on these allegations. Even if

she did have such prima facie evidence, her claims fail because she has no direct evidence of

discrimination or retaliation, and her claims cannot survive under the McDonnell Douglas burden-

shifting framework because she lacks sufficient evidence of pretext for discrimination or

retaliation.

          Solomon does not dispute the BOPC’s arguments concerning timeliness or that she lacks

direct evidence of discrimination or retaliation, so these arguments are waived. Satcher, 558 F.3d

at 735.        But she contends she has sufficient evidence to make a prima facie case of race

discrimination, sex discrimination, and retaliation, and that she can prove pretext.

          A.       Solomon cannot establish a prima-facie case of discrimination.

          Like her co-Plaintiffs, Solomon lacks evidence to satisfy the second and fourth elements

of a discrimination claim. With respect to the second element, Solomon cannot show she was



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meeting her employer’s legitimate expectations when she was suspended and transferred because,

as noted by Sgt. Seward, the Review Panel, and Prosecutor Baker, there were significant issues

with Solomon’s performance.

       The undisputed material facts here also do not satisfy the fourth element—that the

circumstances give rise to an inference of discrimination—because Solomon cannot show she was

treated differently than similarly-situated Caucasian or male employees.       To allow such an

inference, Solomon must show that she and her comparators engaged “in comparably serious

misconduct without experiencing similarly harsh employment consequences.” Carter, 997 F.3d

at 809; see also Pye, 641 F.3d at 1019 (holding employees must be “involved in or accused of the

same or similar conduct and . . . disciplined in different ways”). But each detective’s actions and

circumstances were different, and Solomon cannot identify any Caucasian or male detectives

whose actions and circumstances were like hers. For example, Prosecutor Baker indicated she

would not prosecute cases with Solomon as an investigating detective, but did not articulate

concerns about prosecuting cases involving Caucasian or male CAC detectives, so no Caucasian

or male CAC detectives are similarly situated to her. Thus, Solomon cannot “identify anyone else

who engaged in the same conduct without any mitigating or distinguishing circumstances.”

Bharadwaj, 954 F.3d at 1135.

       Solomon claims that “similarly situated Caucasian or male comparators are former CAC

detectives Roubal, Foushee, Harpold, Roetheli, Menuey, and Klug” because they all worked in the

CAC Unit during 2014 and 2015, “were all subjected to the CAC Unit investigation,” “all at one

point had Sergeant Murry as their supervisor,” and “all of their cases submitted to the Internal

Affairs Unit were subjected to review by the Special Review Panel.” Solomon’s Suggestions in

Opp’n at 10, ECF No. 141. This argument is unavailing. As discussed above, this argument



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describes the detectives’ conduct at too high a level of generality, ignoring differences in each

detective’s role, tenure, and caseload, as well as the severity of each detective’s conduct. The

unique facts and circumstances for each detective are such that no “apples to apples” comparison

between them is possible.

       Solomon also claims that former Detective Eric DeValkenaere is a similarly situated

Caucasian or male comparator because he was a detective accused of committing a criminal

offense. Solomon’s Suggestions in Opp’n at 16, ECF No. 141. This argument is meritless. It

is well-established employees are not similarly situated when their misconduct differs. Findlator

v. Allina Health Clinics, 960 F.3d 512, 515–16 (8th Cir. 2020). The facts and circumstances of

DeValkenaere’s case are wildly different than Solomon’s. DeValkenaere shot a suspect while on

duty after a car chase through a residential neighborhood. Solomon was repeatedly involved in

domestic violence situations while off-duty and, in the most recent incident, accused of failing to

cooperate with the subsequent investigation. The only similarity between the two is that both are

KCPD detectives alleged to have committed criminal misconduct. This is not enough to make

them comparators.

       B.      Solomon cannot establish a prima facie case of retaliation.

       To make a prima facie case of retaliation in violation of Title VII, Solomon must show:

“(1) she engaged in protected conduct, (2) she suffered a materially adverse employment action,

and (3) the adverse action was causally linked to the protected conduct.” Watson v. McDonough,

996 F.3d 850, 856 (8th Cir. 2021). To establish causation, Solomon “must prove the desire to

retaliate was the but for cause of her termination—that is, that the unlawful retaliation would not

have occurred in the absence of the alleged wrongful action or actions of her employer.” Wright

v. St. Vincent Health Sys., 730 F.3d 732, 737 (8th Cir. 2013).



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       In this case, while the timeline here makes retaliation a temporal possibility—Solomon

filed an EEOC complaint alleging discrimination on February 12, 2019, and Capt. Luster

recommended she be fired on April 8, 2019—there is no evidence that tends to show her making

a complaint led to her subsequent firing. Temporal proximity by itself is not enough to show

causation. The relevant Eighth Circuit caselaw discussing a prima facie case always contains at

least some evidence linking the adverse action to the employee’s protected conduct. See, e.g.,

Sayger v. Riceland Foods, Inc., 735 F.3d 1025, 1032 (8th Cir. 2013) (affirming plaintiff’s verdict,

noting there was evidence that prior to plaintiff’s dismissal, a supervisor had talked about

“troublemakers” being gone, and there was evidence linking complaints by other employees to

subsequent terminations or disciplinary action).

       Here there is no evidence indicating Solomon would not have been fired “but for” her

complaining. On the contrary, the record demonstrates Solomon was terminated because she had

a history of poor decision-making and the KCPD had come to view her as an unsalvageable

employee. In fact, Solomon’s termination was effectively set in motion in January 2016—well

before she made her complaint—when Prosecutor Baker sent Chief Smith her first letter outlining

concerns about Solomon’s involvement in a suspected domestic violence episode, the first of

several such letters complaining about Solomon.

       Prosecutor Baker’s May 9, 2018, letter, which was also sent before Solomon complained

about discrimination, noted the January 2018 incident was the fourth such episode involving

Solomon and her partner. This letter also alleged that Solomon had refused to cooperate with the

subsequent criminal investigation into the January incident. Baker concluded by advising Chief

Smith that pursuant to her obligations under Brady v. Maryland, her office would have to disclose

Solomon’s conduct in any potential criminal case in which she played a role for the department,



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making it difficult to successfully prosecute cases in which she played a substantive role. The

subsequent IAU investigation into the January 2018 incident and the chain of command’s (Sgt.

Jennings, Capt. Luster, Deputy Chief Francisco, Chief Smith, and the entire Board of Police

Commissioners) unanimous recommendation that Solomon should be terminated buttresses the

conclusion that Solomon was not fit to be a detective. This conclusion is also consistent with

Solomon’s checkered disciplinary record, which years before the CAC investigation occurred

contained two letters of reprimand, disciplinary counseling, and a two-day suspension. Thus,

Solomon cannot establish the third element of a prima facie claim for retaliation.

        Consequently, the BOPC is entitled to summary judgment on all of Solomon’s claims.

                                           Conclusion

       For the reasons set forth above, the BOPC’s motions for summary judgment, ECF Nos.

122–124, are GRANTED.

       IT IS SO ORDERED.

Date: January 17, 2024                       /s/ Greg Kays
                                             GREG KAYS, JUDGE
                                             UNITED STATES DISTRICT COURT




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